  Case 4:20-cr-00129-RSB-CLR Document 222 Filed 05/30/24 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 UNITED STATES OF AMERICA,

        v.                                              CASE NO.: 4:20-cr-129-4

 WILLIAN CRUZ PEREZ,

               Defendant.


                                          ORDER

       Before the Court is the Magistrate Judge’s May 7, 2024 Report and Recommendation,

(doc. 218), to which no objections have been filed. After a careful de novo review of the entire

record, the Court concurs with the Magistrate Judge's recommendation. The Court, therefore,

ADOPTS the Report and Recommendation, (doc. 218), as its opinion and DENIES Defendant’s

Motion to Dismiss Under Doctrine of Specialty, (doc. 132), and Motion to Dismiss for Lack of

Venue, (doc. 134).

       SO ORDERED, this 30th day of May, 2024.




                                     R. STAN BAKER, CHIEF JUDGE
                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA
